            Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 1 of 48




                 IN THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)

DR. JOSE MICHAN-LEVY                   :
38 S. Federal Highway, #10-118         :
Dania Beach, FL 33004                  :
                                       :
       AND                             :       No.:
                                       :
LIFELIGHT GROUP LLC                    :       JURY TRIAL OF TWELVE JURORS
38 S. Federal Highway, #10-118         :       DEMANDED
Dania Beach, FL 33004                  :
                                       :
                     Plaintiffs,       :
                                       :
       v.                              :
                                       :
ABC CAPITAL INVESTMENTS, LLC           :
305 N. 3rd Street                      :
Philadelphia, PA 19122                 :
                                       :
       AND                             :
                                       :
ABC CAPITAL RE LTD.                    :
1218 N. Marshall Street                :
Philadelphia, PA 19122                 :
                                       :
       AND                             :
                                       :
ABC CAPITAL RE                         :
1218 N. Marshall Street                :
Philadelphia, PA 19122                 :
                                       :
       AND                             :
                                       :
ABC CAPITAL MIAMI LLC                  :
175 SW 7th Street, No. 2110            :
Miami, Florida 33130                   :
                                       :
       AND                             :
                                       :
ABC CAPITAL BALTIMORE, LLC             :
518 S. Conkling St., 4th Fl.           :
Baltimore, MD 21224                    :
                                       :
       AND                             :

                                           1
       Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 2 of 48




                                 :
ABC MANAGEMENT –                 :
BALTIMORE, LLC                   :
100 International Drive, Fl. 23. :
Baltimore, MD 21202              :
                                 :
       AND                       :
                                 :
PHILLY METRO BUILDERS, LLC       :
4235 Main Street                 :
Philadelphia, PA 19127           :
                                 :
       AND                       :
                                 :
ABC CAPITAL FINANCE, LLC         :
1218 N. Marshall Street          :
Philadelphia, PA 19122           :
                                 :
       AND                       :
                                 :
ABC CAPITAL HOLDINGS, LLC        :
1218 N. Marshall Street          :
Philadelphia, PA 19122           :
                                 :
       AND                       :
                                 :
ABC CAPITAL INCOME FUND, LLC :
1218 N. Marshall Street          :
Philadelphia, PA 19122           :
                                 :
       AND                       :
                                 :
ABC CAPITAL REALTY, LLC          :
1218 N. Marshall Street          :
Philadelphia, PA 19122           :
                                 :
       AND                       :
                                 :
477 MANAGEMENT, LLC              :
175 SW 7th Street, No. 1508      :
Miami, Florida 33130             :
                                 :
       AND                       :
                                 :
477 INTERNATIONAL REALTY, LLC :
175 SW 7th Street, No. 1508      :

                                     2
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 3 of 48




Miami, Florida 33130                :
                                    :
       AND                          :
                                    :
IPP USA, LLC                        :
1714 N Memphis St., Ste. C-8        :
Philadelphia, PA 19125              :
                                    :
       AND                          :
                                    :
STATESIDE APM                       :
6445 Citation Dr., Suite F          :
Clarkston, Michigan 48346           :
                                    :
       AND                          :
                                    :
RICARDO SCATTOLINI                  :
175 SW 7th Street, No. 1508         :
Miami, Florida 33130                :
                                    :
       AND                          :
                                    :
FLORENCIA MELENDEZ                  :
175 SW 7th Street, No. 1508         :
Miami, Florida 33130                :
                                    :
       AND                          :
                                    :
JAY WALSH                           :
305 N. 3rd Street                   :
Philadelphia, PA 19122              :
                                    :
       AND                          :
                                    :
AMIR VANA                           :
305 N. 3rd Street                   :
Philadelphia, PA 19122              :
                                    :
       AND                          :
                                    :
YARON ZER                           :
305 N. 3rd Street                   :
Philadelphia, PA 19122              :
                                    :
       AND                          :
                                    :

                                        3
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 4 of 48




NHS INVESTMENTS, LLC                          :
151 Irvin Road                                :
Irving, TX 75060                              :
                                              :
       AND                                    :
                                              :
JOHN DOES 1-10                                :
                                              :
                       Defendants.            :


                                CIVIL ACTION COMPLAINT

I.     INTRODUCTION

1.     Plaintiffs, Dr. Jose Michan-Levy and Lifelight Group LLC, bring this action against a

variety of businesses and individuals that, in conjunction with one another, operated as a corrupt

organization under the Racketeer Influenced and Corrupt Organizations Act in a sophisticated

ponzi scheme 1.

2.     The RICO Enterprise marketed itself, particularly to foreign investors who spoke English

as a second language, as a “one-stop”, “hands-off” solution to invest in “income-producing

properties”, i.e. rental properties. The RICO Enterprise represented to potential investors that the

RICO Enterprise would establish an investment vehicle, i.e. a limited liability company, through

which the investor would purchase a set number of properties, located in Miami, Baltimore,

and/or Philadelphia.

3.     The RICO Enterprise represented to investors that in exchange for the amount paid for

each rental property, the investor would receive a fully-renovated, rental property that would be

exclusively managed by the RICO Enterprise.



1
       All Defendant entities and individuals named herein, with the exception of Defendant,
NHS Investments, LLC, are believed and therefore averred to be members of the RICO
Enterprise. It is believed and therefore averred that Defendant, NHS Investments, LLC is a
another customer-victim of the RICO Enterprise.
                                                  4
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 5 of 48




4.      In fact, the RICO Enterprise guaranteed the rental income for the first twelve months of

ownership and even offered an “rental assurance” package that would be purchased annually to

guarantee rental income in subsequent years.

5.      Plaintiffs, Dr. Jose Michan-Levy and Lifelight Group LLC invested approximately

$540,000 through the RICO Enterprise for the purchase of six properties, which included

approximately $225,000 for the full rehab of the properties.

6.      However, in reality, the RICO Enterprise would (i) transfer only “leasehold interest” in

the properties to the buyer-investor; and/or (ii) use the funds that were designated to fully-rehab

the properties to pay prior investors the prior investors’ guaranteed income.

7.      In 2020, it is believed and therefore averred that the RICO Enterprise’s pyramid began to

tumble following a thirty-three-plaintiff lawsuit, filed in December 2019, alleging a RICO-count

(EDPA No. 19-6116) (see Exhibit X) causing the RICO Enterprise to be unable to make the

guaranteed rental income payments to Plaintiffs.

8.      In 2020, Plaintiffs discovered that the RICO Enterprise failed to make any renovations to

the six properties and had absconded with the approximately $225,000 Plaintiffs paid to it for the

renovations.

9.      Further, Plaintiffs discovered that four of the six properties that Plaintiffs had purchased

were not actually purchased out-right; instead, Plaintiffs had only purchased “leasehold interests”

in four of the properties.

10.     Further, Plaintiffs discovered that one of the six properties that Plaintiffs had “purchased”

remained in the name of the seller, i.e. Defendant, NHS Investments, LLC.




                                                  5
            Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 6 of 48




11.       Additionally, Plaintiffs discovered that the RICO Enterprise had caused the properties to

incur in excess of $40,000 in water bills prior to Plaintiffs “purchase” of the properties from the

RICO Enterprise.

12.       Plaintiffs bring the RICO claim, as well as a number of state law claims, for the

fraudulent and deceptive conduct of the RICO Enterprise, as well as a quiet title claim against

Defendant, NHS Investments, LLC.

II.       JURISDICTION & VENUE

13.       Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

14.       This Honorable Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 as

this matter involves a federal question, as well as pursuant to 18 U.S.C. §§ 1961-1968 for

violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”) as Defendants

have, directly and/or indirectly, made use of the means and/or instrumentalities of interstate

commerce in connection with the transactions, acts, practices and courses of business alleged

herein.

15.       This Honorable Court has supplemental jurisdiction over Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.

16.       Venue is proper in this District as (i) certain real property that is the subject of the

transactions, acts, practices and courses of business alleged herein is situated within this District;

(ii) one or more defendants reside within this District; and (iii) one or more of the transactions,

acts, practices and courses of business alleged herein occurred within this District.

17.       All Defendants performed substantial business within this District, as described herein,

thereby knowingly subjecting themselves to the jurisdiction of this Honorable Court.

III.      PARTIES



                                                     6
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 7 of 48




18.    Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

19.    Plaintiff, Dr. Jose Michan-Levy (herein after, “Dr. Michan”) is an adult individual

currently residing at the above-captioned address.

20.    Plaintiff, Lifelight Group LLC, is a limited liability company existing by virtue of and

operating under the laws of the State of Florida, having been created under the laws of the State

of Florida on or about November 20, 2018, with its primary place of business at the above-

captioned address. At all material times, Dr. Michan is the sole owner of Plaintiff, Lifelight

Group LLC.

21.    Defendant, ABC Capital Investments, LLC is a limited liability company existing by

virtue of and operating under the laws of the Commonwealth of Pennsylvania, with its primary

place of business at the above-captioned address and is a member of the RICO Enterprise.

22.    Defendant, ABC Capital RE LTD is a limited liability company existing by virtue of and

operating under the laws of the Commonwealth of Pennsylvania, with its primary place of

business at the above-captioned address and is a member of the RICO Enterprise.

23.    Defendant, ABC Capital RE is, upon information and belief, a limited liability company

with its primary place of business at the above-captioned address and is a member of the RICO

Enterprise.

24.    Defendant, ABC Capital Miami, LLC is a limited liability company existing by virtue of

and operating under the laws of the State of Florida, with its primary place of business at the

above-captioned address and is a member of the RICO Enterprise.

25.    Defendant, ABC Capital Baltimore, LLC is a limited liability company existing by virtue

of and operating under the laws of the State of Maryland, with its primary place of business at

the above-captioned address and is a member of the RICO Enterprise.



                                                 7
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 8 of 48




26.    Defendant, ABC Management - Baltimore, LLC is a limited liability company existing

by virtue of and operating under the laws of the State of Maryland, with its primary place of

business at the above-captioned address and is a member of the RICO Enterprise.

27.    Defendant, Philly Metro Builders, LLC, formerly known and registered as Home Cash

1031, LLC, is a limited liability company existing by virtue of and operating under the laws of

the Commonwealth of Pennsylvania, with its primary place of business at the above-captioned

address and is a member of the RICO Enterprise.

28.    Defendant, ABC Capital Finance, LLC, is a limited liability company existing by virtue

of and operating under the laws of the Commonwealth of Pennsylvania, with its primary place of

business believed to be at the above-captioned address and is a member of the RICO Enterprise.

29.    Defendant, ABC Capital Holdings, LLC, is a limited liability company existing by virtue

of and operating under the laws of the Commonwealth of Pennsylvania, with its primary place of

business believed to be at the above-captioned address and is a member of the RICO Enterprise.

30.    Defendant, ABC Capital Income Fund, LLC, is a limited liability company existing by

virtue of and operating under the laws of the Commonwealth of Pennsylvania, with its primary

place of business believed to be at the above-captioned address and is a member of the RICO

Enterprise.

31.    Defendant, ABC Capital Realty, LLC, is a limited liability company existing by virtue of

and operating under the laws of the Commonwealth of Pennsylvania, with its primary place of

business believed to be at the above-captioned address and is a member of the RICO Enterprise.

32.    Defendant, 477 Management, LLC, is a limited liability company existing by virtue of

and operating under the laws of the State of Florida, with its primary place of business at the

above-captioned address and is a member of the RICO Enterprise.



                                                 8
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 9 of 48




33.    Defendant, 477 International Realty, LLC, is a limited liability company existing by

virtue of and operating under the laws of the State of Florida, with its primary place of business

at the above-captioned address and is a member of the RICO Enterprise.

34.    Defendant, IPP USA, LLC, is a limited liability company existing by virtue of and

operating under the laws of the Commonwealth of Pennsylvania, with its primary place of

business at the above-captioned address and is a member of the RICO Enterprise.

35.    Defendant, Stateside APM, is, upon information and belief, a limited liability company

existing by virtue of and operating under the laws of the State of Michigan, with its primary

place of business at the above-captioned address and is a member of the RICO Enterprise.

36.    Defendant, Jay Walsh is an adult individual with a primary workplace at the above-

captioned address and is a member of the RICO Enterprise. As Defendant, Jay Walsh was the

“Co-Founder” of Defendant, ABC Capital Investments, LLC, the original “ABC” entity, it is

believed and therefore averred that Defendant, Jay Walsh is personally knowledgeable of the

“pattern of racketeering activities” described herein.

37.    Defendant, Amir Vana is an adult individual with a primary workplace at the above-

captioned address and is a member of the RICO Enterprise. As Defendant, Jay Walsh was the

“Co-Founder” of Defendant, ABC Capital Investments, LLC, the original “ABC” entity, it is

believed and therefore averred that Defendant, Amir Vana is personally knowledgeable of the

“pattern of racketeering activities” described herein.

38.    Defendant, Yaron Zer is an adult individual with a primary workplace at the above-

captioned address and is a member of the RICO Enterprise. As Defendant, Jay Walsh was the

“Co-Founder” of Defendant, ABC Capital Investments, LLC, the original “ABC” entity, it is




                                                 9
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 10 of 48




believed and therefore averred that Defendant, Yaron Zer is personally knowledgeable of the

“pattern of racketeering activities” described herein.

39.    Defendant, Florencia Melendez is an adult individual with a primary workplace at the

above-captioned address and is a member of the RICO Enterprise. Defendant, Florencia

Melendez is an employee of Defendant, ABC Capital Miami, LLC, specifically a sales associate,

and is named herein due to her personal involvement in fraudulent, deceptive, and/or corrupt

representations to and communications with Plaintiff, Dr. Michan.

40.    Defendant, Ricardo Scattolini is an adult individual with a primary workplace at the

above-captioned address and is a member of the RICO Enterprise. Defendant, Ricardo Scattolini

is an employee of Defendant, ABC Capital Miami, LLC, specifically the Vice Present of Sales

and Operations, and an agent of the RICO Enterprise and is named herein due to his personal

involvement in fraudulent, deceptive, and/or corrupt representations to and communications with

Plaintiff, Dr. Michan.

41.    Defendant, NHS Investments, LLC is a limited liability company existing by virtue of

and operating under the laws of the State of Texas, with its primary place of business at the

above-captioned address. It is believed and therefore averred that Defendant, NHS Investments,

LLC is not a member of the RICO Enterprise, but instead may be a customer-victim thereof.

42.    Defendants, John Does 1-10, is a moniker/fictitious name for individuals and entities

currently unknown but will be substituted when known, as affiliated, associated or liable

hereunder for the reasons set forth below or inferred therefrom. Each of these parties are

incorporated as Defendants in each and every count and averment listed above and below. Upon

information and belief, Defendants, John Does, were agents, servants, workmen, employees,




                                                 10
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 11 of 48




affiliates, and/or co-conspirators of Co-Defendant(s) and/or members of the RICO Enterprise,

liable to Plaintiffs hereunder.

43.     The term “RICO Enterprise” herein will refer collectively to Defendants, ABC Capital

Investments, LLC, ABC Capital RE LTD, ABC Capital RE, ABC Capital Miami, LLC, ABC

Capital Baltimore, LLC, ABC Management - Baltimore, LLC, Philly Metro Builders, LLC, ABC

Capital Finance, LLC, ABC Capital Holdings, LLC, ABC Capital Income Fund, LLC, ABC

Capital Realty, 477 Management, LLC, 477 International Realty, LLC, IPP USA, LLC, and,

Stateside APM, as well as Individual-Defendants, Jay Walsh, Amir Vana, Yaron Zer, Florencia

Melendez, Ricardo Scattolini, and John Does 1-10.

IV.     OPERATIVE FACTS

44.     Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

45.     In or around 2018, Plaintiff, Dr. Michan, learned of a guaranteed investment opportunity

from Defendant, Ricardo Scattolini through Defendant, ABC Capital Miami, LLC involving

“Income Producing Properties” in which Defendant, ABC Capital Miami, LLC would provide

guaranteed annual returns on investments in excess of nine percent (9%) per year for the first

year.

46.     At all material times, Defendant, Ricardo Scattolini acted as an agent and/or employee of

Defendants, 477 Management, LLC and 477 International Realty, LLC.

47.     Plaintiff, Dr. Michan engaged in communications with Defendants, Ricardo Scattolini

and Florencia Melendez concerning the guaranteed investment opportunity.

48.     Defendants, Ricardo Scattolini and Florencia Melendez represented to Plaintiff, Dr.

Michan that ABC Capital Miami, LLC was a “one-stop shop” for a guaranteed investment

opportunity through “income-producing properties”, i.e. rental properties.



                                                  11
        Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 12 of 48




49.    Defendants, Ricardo Scattolini and Florencia Melendez represented to Plaintiff, Dr.

Michan that the ABC Capital Miami, LLC had perfected a process in which it:

           a. would create an new entity to hold the investment properties;

           b. would select and coordinate the purchase of a to-be-agreed-upon number of

              properties for the newly created entity;

           c. coordinate a full renovation of the properties, including roofing, plumbing,

              electrical, with new appliances, including water heater and boiler or other heating

              unit – all to be completed within sixty days of settlement on each property; and,

           d. manage all aspects of the Property, including rental, maintenance, taxes, and

              compliance with all applicable laws, regulations, and ordinances.

50.    Defendants, Ricardo Scattolini and Florencia Melendez explained that ABC Capital

Miami, LLC guaranteed a return on investment in excess of nine percent per year.

51.    Defendant, ABC Capital Miami, LLC currently maintains a website at

www.abccapitalmiami.com, which, as of March 18, 2021, describes it’s “Product” as follows:

                                              IPP
                              IPP / Income Producing Properties
       IPP are high performing properties in growing markets with great potential due to
         the high occupancy rate and demand for rentals, the increase in property prices
                                  and the low property taxes.
          The ABC Capital team analyzes the potential of each property in detail. Once
        acquired and stabilized, we proceed to the complete remodeling and lease to then
                                    offer them to our clients.
            In this way, each property is prepared, individually or in groups, as IPP.
         The administration of the properties includes maintenance, sending income for
          rent and reports to our clients offering a comprehensive solution for foreign
                                             investors.
See Exhibit A, Pages 1-2.




                                               12
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 13 of 48




52.    Defendant, ABC Capital Miami, LLC’s website, as of March 18, 2021, represents on its

website that it has “designed a process that allows us to develop a high performance [sic]

product”, describing that “process” as follows:

       1. SEARCH AND PURCHASE - We do an extensive search and analysis to
       define the best available properties and acquire them with great benefits.
       2. REHABILITATION PROGRAM - A detailed and full remodeling process,
       completed by professionals. This process includes: structural
       adjustments/improvements, electrical and plumbing systems, drywall, kitchen and
       more.
       3. LEASE PROGRAM - Once the property is remodeled, we proceed to lease it,
       ensuring returns above 9% per year.
       4. PROPERTY ADMINISTRATION - We take care of the administration
       including the following: – Receive the rent[,] – Pay expenses[,] – Monitor
       repairs[,] – Send a monthly account statement.
       5. PROPERTY SALE - At this point, the property enters our system, is listed in
       our sales inventory and offered to investors as a stable option for their portfolio.
See Exhibit A, Page 3.

53.    Defendant, ABC Capital Miami, LLC is an affiliate of the original ABC entity,

Defendant, ABC Capital Investments, LLC. Defendant, ABC Capital Investments, LLC was

founded by Defendants, Jay Walsh, Amir Vana, and Yaron Zer in or around March 2011.

54.    Over the following decade, Defendant, ABC Capital Investments, LLC, at the direction

of, inter alia, Defendants, Jay Walsh, Amir Vana, and Yaron Zer, created a network of ABC

affiliates that work in conjunction with each other in the Miami, Baltimore, and Philadelphia

markets, including, but not limited to:

           a. Defendant, ABC Capital RE LTD, which, upon information and belief, focuses of

               the purchase, sale, and management of real estate in the greater Philadelphia area;

           b. Defendant, ABC Capital - Baltimore, LLC, which, upon information and belief,

               focuses of the purchase and sale of real estate in the greater Baltimore area;




                                                  13
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 14 of 48




           c. Defendant, ABC Capital Miami, LLC, which, upon information and belief,

               focuses of the purchase and sale of real estate in the greater Miami area;

           d. Defendant, ABC Management – Baltimore, LLC, which, upon information and

               belief, focuses of the renovation and management of real estate in the greater

               Baltimore area; and,

           e. Defendant, Philly Metro Builders, LLC, which, upon information and belief,

               focuses of the renovation of real estate in the greater Philadelphia area.

55.     It is believed and therefore averred that Defendants, ABC Capital Finance, LLC, ABC

Capital Holdings, LLC, ABC Capital Income Fund, LLC, and ABC Capital Realty, LLC are all

additional members of RICO Enterprise that serve “back-office”, rather than client-facing,

aspects of the RICO Enterprise.

56.     Defendant, ABC Capital RE, LTD currently maintains a website at

www.abccapitalinvestments.com, which, as of March 18, 2021, represents to prospective clients

that:

        ABC Capital RE, LTD offers a totally passive way to hold Real Estate. No
        physical or administrative involvement is required from our clients. By working
        with ABC, you retain legal control through your own entity or in your personal
        name but we handle the rest of your affairs if you wish. Everything regarding
        your property is cared for by ABC Capital RE, LTD.”

See Exhibit B, Page 1

57.     Defendant, ABC Capital RE, LTD’s website, as of March 18, 2021, further explains on

its “About ABC Capital” page that:

        ABC Capital RE, LTD is a one-stop shop for overseas and US real estate clients.
        We locate, renovate, and manage properties for hands off international/national
        clients. You do not have the risk of buying securities but instead your real estate
        properties remain in your own separate legal entity. ABC has presented our
        unique value proposition all over the world including cities and countries such as



                                                 14
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 15 of 48




         London, Singapore, Tel Aviv, Monaco, and New York. Our rental properties are
         cash-flow producing in the Philadelphia residential markets.

See Exhibit B, Page 4.

58.      Defendant, ABC Capital RE, LTD’s website, as of March 18, 2021, represents how it

works:

         1. Choose your income property – ABC researches and locates the best rental
         properties to compliment our investor’s needs and portfolio. Our clients just need
         to select a property from our stock. Normal range for our properties is from
         $25,000 to $50,000.

         2. We renovate it for you – The ABC Capital RE, LTD team will renovate your
         property in a maximum of 120 days. Our team has renovated and developed over
         1,000 properties. You will receive a finished product with no effort on your part.
         The normal cost of our renovations range from $35,000 to $100,000. The cost of
         renovation is guaranteed by ABC Capital RE, LTD.

         3. Start receiving your rental income – You will receive your first monthly
         payment never later than 121 days after your purchase and every 30 days
         thereafter via electronic funds transfers. First year rent income is guaranteed and
         starting the second year you may be able to get rent insurance if you so choose.
         Return on Investments are 14%+ yearly, in addition to property appreciation.

See Exhibit B, Page 2.

59.      Defendant, ABC Capital RE, LTD’s current website, as of March 18, 2021, further

represents to prospective clients the following “Highlights”:

         Home Warranty – We fully renovate the properties, including a new roof with a
         15-year warranty, but clients also receive a 1-year home warranty (from June
         2016, it will only be 6 months) that covers your property for all damages and
         repairs needed within the first year of your purchase. No maintenance expenses
         during the first year!

         Rent Protect – ABC Capital ensures that your monthly payment is delivered to
         you without fail. Yes, a guarantee that payments are made to you for the first year
         after purchase. You may choose to pay for that insurance (if available ) in the 2nd
         and succeeding years.

         Electronic Monthly Payments – Every month, your Return On Investment is sent
         to you via electronic funds transfer. Just provide us with the proper wiring
         instructions and your payments are sent automatically.

                                                  15
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 16 of 48




See Exhibit B, Page 2.

60.     Defendant, ABC Capital RE, LTD’s website, as of March 18, 2021, also explained its

“Full Renovations” to prospective clients, stating:

        After you purchase a property from our catalog, our sister company, Philly Metro
       Builders will conduct a FULL renovation. This includes new boiler and new
       roofing (15 years warranty), so the property will have very little or no
       maintenance during the next years. The full renovation is conducted in less than
       90 days after the purchase of your home.

See Exhibit B, Page 3.

61.    Plaintiffs reasonably and justifiably depended upon the representations from Defendants,

Ricardo Scattolini and Florencia Melendez, as well as the representations Plaintiffs viewed on

www.abccapitalmiami.com in deciding to invest funds with Defendant, ABC Capital Miami,

LLC.

62.    In or around Fall 2018, Defendant, Florencia Melendez worked with Plaintiff to establish

an initial investment into Defendant, ABC Capital Miami, LLC’s “Product”.

63.    Defendant, Florencia Melendez, believed with the assistance of other unknown

individuals, selected properties in Baltimore, MD and Philadelphia, PA for Plaintiff, Lifelight

Group LLC to purchase.

64.    Defendant, Florencia Melendez, believed with the assistance of other unknown

individuals, provided Plaintiff, Dr. Michan a spreadsheet reflecting the costs and return on the

selected properties.

65.    On or about November 13, 2021, Defendant, Florencia Melendez provided Plaintiff, Dr.

Michan an update via email, stating that “[w]e had to do a unit change because 238 Collins was

sold. It was replaced by 2528 Francis St.” As a result of the change, Defendant, Florencia

Melendez further provided an updated spreadsheet, via email, stating that the “change []

                                                16
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 17 of 48




increases the CAP to 11.73% at $536,000.” Attached hereto as Exhibit C (“ROI Spreadsheet”) is

the updated spreadsheet provided on November 13, 2018.

66.    In the ROI Spreadsheet, Defendant, Florencia Melendez represented to Plaintiff, Dr.

Michan that in exchange for an initial $536,000 investment, Plaintiff, Lifelight Group, LLC

would purchase the following properties:

           a. 1302 McHenry in Baltimore (2 Bed, 1 Bath) – purchase price of $84,000;

           b. 5840 Angora in Philadelphia (3 Bed, 1 Bath) – purchase price of $90,000;

           c. 1917 S. Cecil St in Philadelphia (3 Bed, 1 Bath) – purchase price - $92,500;

           d. 1415 Poplar Grove in Baltimore (3 Bed, 1 Bath) – purchase price - $96,500;

           e. 2528 Francis in Baltimore (3 Bed, 1 Bath) – purchase price - $85,000; and,

           f. 2017 Sinclair in Baltimore (3 Bed, 1 Bath) – purchase price $88,000.

See Exhibit C.

67.    In the ROI Spreadsheet, Defendant, Florencia Melendez fraudulently, deceptively, and/or

corruptly further represented to Plaintiff, Dr. Michan that each of the foregoing properties were

currently “RENTED”. See Exhibit C, Page 3.

68.    In the ROI Spreadsheet, Defendant, Florencia Melendez further represented to Plaintiff,

Dr. Michan that the combined investment would provide a 11.73% “CAP Rate” in the first year

and a 10.61% “CAP” in the second year. 2 See Exhibit C, Pages 2-3.

69.    After reviewing the ROI Spreadsheet, Plaintiff, Dr. Michan provided Defendant,

Florencia Melendez authorization to initiate the process.




2
        The capitalization rate, also known as cap rate, is used in the world of commercial real
estate to indicate the rate of return on a real estate investment property. This measure is
computed based on the net income on the property and is calculated by dividing net operating
income by property asset value and is expressed as a percentage.
                                                17
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 18 of 48




70.    Defendant, Florencia Melendez, believed with the assistance of other unknown

individuals, created an entity on behalf of Plaintiff, Dr. Michan to serve as the investment

vehicle, specifically, Plaintiff, Lifelight Group LLC, on or about November 20, 2018 with

Plaintiff, Dr. Michan as the sole owner thereof.

71.    At the direction of Defendants, Ricardo Scattolini and Florencia Melendez, Plaintiffs

made the following wire transfers as payment:

           a. $10,000 on or about November 15, 2018 to Non-Party, Assurance Abstract Corp.;

           b. $10,000 on or about November 15, 2018 to Non-Party, Masters Title and Escrow;

           c. $10,000 on or about November 15, 2018 to Non-Party, Lawrence S. London of

               Clear Title Group Maht Attorney Escrow; and,

           d. $10,000 on or about November 16, 2018 to Defendant, ABC Capital R.E., Ltd.

72.    However, at some point on or about November 13, 2018, Defendant, Florencia Melendez

substituted a property located at 1739 E. 30th Street, Baltimore, MD 21218 in place of the 1302

McHenry property. 3

73.    On or about November 13, 2018, Defendant, Florencia Melendez and/or other members

of the RICO Enterprise executed various contracts, as detailed below, on behalf of Plaintiff,

Lifelight Group, LLC – Plaintiffs were not provided copies of any of the various contracts prior




3
        Nonetheless, Defendant, Florencia Melendez provided Plaintiffs an executed Real Estate
Contract of Sale for the purchase of the real property located at and known as 1302 McHenry
Street, Baltimore, MD 21223 (the “1302 McHenry Street Property”) from Defendant, ABC
Capital Baltimore, LLC for forty thousand dollars ($40,000). See Exhibit D. As an additional
addendum to the aforementioned Real Estate Contract of Sale is an executed contract with
Defendant, ABC Management – Baltimore, LLC for it to renovate the entire home at a cost of
$39,500. See Exhibit D, Page 6. Further, Defendant, Florencia Melendez provided Plaintiffs am
executed Property Management Contract with Defendant, ABC Management - Baltimore, LLC
concerning the 1302 McHenry Street Property. See Exhibit E.
                                                   18
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 19 of 48




to settlement on the properties. Nor did the RICO Enterprise memorialize the investment

agreement between Defendant, ABC Capital Miami, LLC and Plaintiffs.

                           1415 Poplar Grove, Baltimore, MD 21216

74.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Real Estate Contract of Sale for the purchase of the real property

located at and known as 1415 Poplar Grove Street, Baltimore, MD 21216 (the “1415 Poplar

Grove Street Property”) from Defendant, ABC Capital Baltimore, LLC for thirty-five thousand

dollars ($35,000). See Exhibit F.

75.    As an addendum to the aforementioned Real Estate Contract of Sale, Defendant, ABC

Capital Baltimore, LLC also contractually agreed to the following terms:

       1.       Property is warrantied for 12 months. Client will have NO maintenance at
       all for 12 months.
       2.       Roof is warranteis [sic] for 12 years.
       3.       Rents are guaranteed for $1300 [sic] per month for 1 year.
       4.       Buyer will pay 10% for Property Management for Year One.
       5.       If ABC offers a rental assurance or maintenance plan[,] they will be billed
       in full in December of each year.
       6.       If Client or ABC terminates the property management agreement, all
       warranties provided by ABC and its affiliates and NULL and void.

See Exhibit F, Page 5.

76.    As an additional addendum to the aforementioned Real Estate Contract of Sale,

Defendant, ABC Management – Baltimore, LLC contractually agreed to renovate the entire

home at a cost of $57,000, including, inter alia, (i) new electric; (ii) new plumbing; (iii) new

roof; (iv) new kitchen and bathroom; and, (v) new stove and water heater. See Exhibit F, Page 6.

77.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Contract with Defendant, ABC




                                                 19
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 20 of 48




Management - Baltimore, LLC concerning the 1415 Poplar Grove Street Property. See Exhibit

G.

78.    However, per the HUD Settlement Statement, the seller was in fact Non-Party, JV 1415

Poplar Grove LLC, not Defendant, ABC Capital RE LTD. See Exhibit H.

79.    It is believed and therefore averred that Non-Party, JV 1415 Poplar Grove LLC was an

entity created by the RICO Enterprise for a prior customer.

80.    Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $11,040 “Commission” fee, as well as a $499 Processing fee. See Exhibit H, Page 2.

81.    Additionally, per the HUD Settlement Statement, Defendant, ABC Management –

Baltimore, LLC received $57,000 for “Rehab Fee” as payment for contractual agreement to

renovate the entire home. See Exhibit H, Page 2.

                           2017 Sinclair Lane, Baltimore, MD 21213

82.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Real Estate Contract of Sale for the purchase of the real property

located at and known as 2017 Sinclair Lane, Baltimore, MD 21213 (the “2017 Sinclair Lane

Property”) from Defendant, ABC Capital Baltimore, LLC for fifty thousand dollars ($50,000).

See Exhibit I.

83.    As an addendum to the aforementioned Real Estate Contract of Sale, Defendant, ABC

Capital Baltimore, LLC also contractually agreed to the following terms:

       1.       Property is warrantied for 12 months. Client will have NO maintenance at
       all for 12 months.
       2.       Roof is warranteis [sic] for 12 years.
       3.       Rents are guaranteed for $1075 [sic] per month for 1 year.
       5.       Buyer will pay 10% for Property Management for Year One.
       6.       If ABC offers a rental assurance or maintenance plan[,] they will be billed
       in full in December of each year.



                                                20
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 21 of 48




       7.     If Client or ABC terminates the property management agreement, all
       warranties provided by ABC and its affiliates and NULL and void.

See Exhibit I, Page 5.

84.    As an additional addendum to the aforementioned Real Estate Contract of Sale,

Defendant, ABC Management – Baltimore, LLC contractually agreed to renovate the entire

home at a cost of $33,500 including, inter alia, (i) new electric; (ii) new plumbing; (iii) new roof;

(iv) new kitchen and bathroom; and, (v) new stove and water heater. See Exhibit I, Page 6.

85.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Contract with Defendant, ABC

Management - Baltimore, LLC concerning the 2017 Sinclair Lane Property. See Exhibit J.

86.    However, per the HUD Settlement Statement, the seller was in fact Non-Party, Novato

Ventures, LLC, not Defendant, ABC Capital Baltimore, LLC. See Exhibit K.

87.    It is believed and therefore averred that Non-Party, Novato Ventures, LLC was an entity

created by the RICO Enterprise for a prior customer.

88.    Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $499 Processing fee and a $10,020 Commission while Defendant, ABC Capital –

Baltimore, LLC received a $148.89 Closing fee. See Exhibit K, Page 2.

89.    Additionally, per the HUD Settlement Statement, Defendant, ABC Management -

Baltimore, LLC received $33,500 for “Rehab Fee” as payment for contractual agreement to

renovate the entire home. See Exhibit K, Page 2.

                           2528 Francis Street, Baltimore, MD 21217

90.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Real Estate Contract of Sale for the purchase of the real property

located at and known as 2528 Francis Street, Baltimore, MD 21217 (the “2528 Francis Street

                                                 21
           Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 22 of 48




Property”) from Defendant, ABC Capital Baltimore, LLC for forty thousand dollars ($40,000).

See Exhibit L.

91.       As an addendum to the aforementioned Real Estate Contract of Sale, Defendant, ABC

Capital Baltimore, LLC also contractually agreed to the following terms:

          1.       Property is warrantied for 12 months. Client will have NO maintenance at
          all for 12 months.
          2.       Roof is warranteis [sic] for 12 years.
          3.       Rents are guaranteed for $1200 [sic] per month for 1 year.
          4.       Buyer will pay 10% for Property Management for Year One.
          5.       If ABC offers a rental assurance or maintenance plan[,] they will be billed
          in full in December of each year.
          6.       If Client or ABC terminates the property management agreement, all
          warranties provided by ABC and its affiliates and NULL and void.

See Exhibit L, Page 5.

92.       As an additional addendum to the aforementioned Real Estate Contract of Sale,

Defendant, ABC Management – Baltimore, LLC also contractually agreed to renovate the entire

home at a cost of $42,500 including, inter alia, (i) new electric; (ii) new plumbing; (iii) new roof;

(iv) new kitchen and bathroom; and, (v) new stove and water heater. See Exhibit L, Page 6.

93.       On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Contract with Defendant, ABC

Management - Baltimore, LLC concerning the 2528 Francis Street Property. See Exhibit M.

94.       Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $499 Processing fee and a $9,660 Broker Fee. See Exhibit N, Page 2.

95.       Further, per the HUD Settlement Statement, Non-Party, Ariel Investments, LLC and

Defendant, ABC Capital RE LTD each received a $2,000 “Assignment Fee”. See Exhibit N,

Page 2.




                                                   22
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 23 of 48




96.    Additionally, per the HUD Settlement Statement, Defendant, ABC Management -

Baltimore, LLC received $42,500 for “Rehab” as payment for contractual agreement to renovate

the entire home. See Exhibit N, Page 2.

                            1739 E. 30th Street, Baltimore, MD 21218

97.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Real Estate Contract of Sale for the purchase of the real property

located at and known as 1739 E. 30th Street, Baltimore, MD 21218 (the “1739 E. 30th Street

Property”) from Defendant, ABC Capital Baltimore, LLC for thirty-seven thousand dollars

($37,000). See Exhibit O.

98.    As an addendum to the aforementioned Real Estate Contract of Sale, Defendant, ABC

Capital Baltimore, LLC also contractually agreed to the following terms:

       1.       Property is warrantied for 12 months. Client will have NO maintenance at
       all for 12 months.
       2.       Roof is warranteis [sic] for 12 years.
       3.       Rents are guaranteed for $1250 [sic] per month for 1 year.
       4.       The client is responsible for all utilities at the property during
       construction. If ABC pays they will be billed to the owner first billing rental
       statement.
       5.       Client is responsible for insurance during construction. ABC will pay this
       and bill client on their first rental statement.
       Buyer will pay 10% for Property Management for Year One.
       If ABC offers a rental assurance or maintenance plan[,] they will be billed in full
       in December of each year.
       8.       If Client or ABC terminates the property management agreement, all
       warranties provided by ABC and its affiliates and NULL and void.

See Exhibit O, Page 5.

99.    As an additional addendum to the aforementioned Real Estate Contract of Sale,

Defendant, ABC Management – Baltimore, LLC also contractually agreed to renovate the entire

home at a cost of $42,500 including, inter alia, (i) new electric; (ii) new plumbing; (iii) new roof;

(iv) new kitchen and bathroom; and (v) new stove and water heater. See Exhibit O, Page 6.

                                                 23
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 24 of 48




100.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Contract with Defendant, ABC

Management - Baltimore, LLC concerning the 1739 E. 30th Street Property. See Exhibit P.

101.   Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $499 Processing fee and a $9,540 Broker Fee. See Exhibit Q, Page 2.

102.   Additionally, per the HUD Settlement Statement, Defendant, ABC Management -

Baltimore, LLC received $42,500 for “Rehab” as payment for contractual agreement to renovate

the entire home. See Exhibit Q, Page 2.

                           1917 S. Cecil St., Philadelphia, PA 19143

103.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Standard Agreement for the Sale of Real Estate for the purchase of

the real property located at and known as 1917 S. Cecil St., Philadelphia, PA 19143 (the “1917

S. Cecil Street Property”) from Defendant, ABC Capital RE LTD for eighty-nine thousand

dollars ($89,000). See Exhibit R.

104.   As an addendum to the aforementioned Standard Agreement for the Sale of Real Estate,

Defendant, Defendant, ABC Capital RE LTD also contractually agreed to the following terms:

       1.       Property is warrantied for 12 months. Client will have NO maintenance at
       all for 12 months.
       2.       Roof is warrantied for 12 years.
       3.       Rents are guaranteed for $950 per month for 1 year.
       4.       Buyer will pay 10% for Property Management for Year One.
       5.       If ABC offers a rental assurance or maintenance plan[,] they will be billed
       in full in December of each year.
       6.       If Client or ABC terminates the property management agreement, all
       warranties provided by ABC and its affiliates and NULL and void.

See Exhibit R, Page 14.




                                                24
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 25 of 48




105.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Agreement with Defendant, ABC Capital

RE LTD concerning the 1917 S. Cecil Street Property. See Exhibit S.

106.   However, per the HUD Settlement Statement, the seller was in fact Defendant, NHS

Investments LLC, not Defendant, ABC Capital RE LTD. See Exhibit T.

107.   It is believed and therefore averred that Defendant, NHS Investments LLC was an entity

created by the RICO Enterprise for a prior customer.

108.   Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $10,680 “Commission” fee, as well as a $499 Processing fee. See Exhibit T, Page 2.

109.   Additionally, per the HUD Settlement Statement, Defendant, ABC Capital RE LTD

received $16,686.18 for “Rehab Reimbursement.” See Exhibit T, Page 2. However, Plaintiffs

were not provided a copy of the applicable renovation contract.

                        5840 Angora Terrace, Philadelphia, PA 19143

110.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a Standard

Agreement for the Sale of Real Estate for the purchase of the real property located at and known

as 5840 Angora Terrace, Philadelphia, PA 19143 (the “5840 Angora Terrace Property”) from

Defendant, ABC Capital RE LTD for eighty-six thousand five hundred dollars ($86,500). See

Exhibit U.

111.   As an addendum to the aforementioned Standard Agreement for the Sale of Real Estate,

Defendant, Defendant, ABC Capital RE LTD also contractually agreed to the following terms:

       1.       Property is warrantied for 12 months. Client will have NO maintenance at
       all for 12 months.
       2.       Roof is warrantied for 12 years.
       3.       Rents are guaranteed for $1000 [sic] per month for 1 year.
       4.       Buyer will pay 10% for Property Management for Year One.



                                               25
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 26 of 48




       5.       If ABC offers a rental assurance or maintenance plan[,] they will be billed
       in full in December of each year.
       6.       If Client or ABC terminates the property management agreement, all
       warranties provided by ABC and its affiliates and NULL and void.

See Exhibit U, Page 14.

112.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – also entered into a Property Management Agreement with Defendant, ABC Capital

RE LTD concerning the 5840 Angora Terrace Property. See Exhibit S.

113.   However, per the HUD Settlement Statement, the seller was in fact Non-Parties,

Emagination Contracting, LLC and David Frederick Ralls, Jr as Administrator of the Estate of

Florence L. Ralls, not Defendant, ABC Capital RE LTD. See Exhibit V.

114.   It is believed and therefore averred that Non-Party, Emagination Contracting, LLC was

an entity created by the RICO Enterprise for a prior customer, i.e. Non-Party, Florence L. Ralls.

115.   Further, per the HUD Settlement Statement, Defendant, ABC Capital Miami, LLC

received a $499 Processing fee and a $10,380 Commission. See Exhibit V.

116.   Additionally, per the HUD Settlement Statement, Defendant, Philly Metro Builders, LLC

received $33,090.05 for “Rehab” as payment for contractual agreement to renovate the entire

home. See Exhibit V, Page 2. However, Plaintiffs were not provided a copy of the applicable

renovation contract.

117.   At the direction of Defendants, Ricardo Scattolini and Florencia Melendez, Plaintiffs

made the following wire transfers as the settlement payments:

           a. $158,000 on or about November 30, 2018 to Non-Party, Masters Title and

               Escrow;

           b. $173,500 on or about November 30, 2018 to Non-Party, Lawrence S. London of

               Clear Title Group Maht Attorney Escrow; and,

                                                26
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 27 of 48




           c. $171,500 on or about December 10, 2018 to Defendant, ABC Capital R.E., Ltd.

                           MANAGEMENT OF THE PROPERTIES

118.   Starting on or about November 30, 2018, Defendant, ABC Management – Baltimore,

LLC was contractually responsible for the management of: (i) the 1415 Poplar Grove Street

Property; (ii) the 2017 Sinclair Lane Property; (iii) the 2528 Francis Street Property; and, (iv) the

1739 E. 30th Street Property (collectively herein, the “Baltimore Properties”). See Exhibits G, J,

M, & O.

119.   Starting on or about November 30, 2018, Defendant, ABC Capital RE LTD was

contractually responsible for the management of the 1917 S. Cecil Street Property and the 5840

Angora Terrace Property. See Exhibit S.

120.   During the course of the first year, Plaintiffs received rental payments each month on

each of the properties.

121.   However, upon information and belief, Defendant, ABC Management – Baltimore, LLC

failed to rent out any of the properties under its management, nor undertook any efforts to rent

out the properties under its management.

122.   Likewise, upon information and belief, Defendant, ABC Capital RE LTD failed to rent

out either of the properties under its management, nor undertook any efforts to rent out the

properties under its management.

123.   It is believed and therefore averred, that the RICO Enterprise maintained its front as a

successful real estate investment firm through a ponzi-like scheme or practice. Specifically, the

RICO Enterprise would use funds of new investors, including funds specifically earmarked for

renovations of those new investors’ properties, to make the guaranteed rental payments to prior

investors and/or to buy-back the prior investors’ properties.



                                                 27
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 28 of 48




124.    In or around December 2019, Plaintiffs were charged an insurance fee for the 2020 fiscal

year to pay for “rental assurance”, i.e. to provide rental income for each of the properties should

the RICO Enterprise not rent out the properties and/or should the renters fail to make payments.

125.    However, in January and February 2020, Plaintiffs only received rental payments for two

of the six properties. In March 2020 and thereafter, Plaintiffs did not receive any rental payments

from the RICO Enterprise despite paying for “rental assurance” insurance for the 2020 fiscal

year.

126.    It is believed and therefore averred that the pool of new investors was running dry by

March 2020 due to the aforementioned RICO lawsuit being filed on or about December 24, 2019

(EDPA No. 19-6116).

127.    In or around May 2020, after receiving limited responses from the RICO Enterprise,

Plaintiff, Dr. Michan travelled to Baltimore and Philadelphia to view the properties and

discovered that each of the properties were in a state of complete disrepair, extensively damaged,

and unoccupied.

128.    Upon contacting Defendant, ABC Capital Miami, LLC, Plaintiff, Dr. Michan was

referred to Defendant, Jay Walsh and his counsel, Non-Party, Andrew Swain, Esquire.

Defendant, Walsh proposed to “buy-back” the properties subject to Defendant, ABC Capital

Miami, LLC locating new investors to purchase the properties. However, Defendant, Jay Walsh

further stated that Defendant, ABC Capital Miami, LLC would only begin searching for new

investors upon receipt of a full release of claims.

129.    Notably, the Settlement and Release Agreement provided for a release of the following

entities that were defined collectively as “ABC”: (i) ABC Capital Investments, LLC; (ii) ABC

Capital RE, Ltd; (iii) ABC Capital RE; (iv) IPP USA, LLC; (v) Philly Metro Builders, LLC; (vi)



                                                  28
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 29 of 48




Stateside APM; (vii) ABC Capital – Baltimore, LLC; (viii) ABC Management – Baltimore,

LLC; (ix) ABC Capital Miami, LLC; (x) 477 Management, LLC; (xi) 477 International Realty,

LLC. See Exhibit AB.

130.   Although Plaintiffs did not agree to any release, Non-Party, Andrew Swain, Esquire

communicated to Plaintiff that Defendant, ABC Capital Miami, LLC was attempting to find

buyers / investors to purchase the properties.

131.   In or around Summer 2020, Plaintiffs terminated the property management contacts and

agreements with Defendant, ABC Management – Baltimore, LLC and Defendant, ABC Capital

RE LTD and retained a new property manager.

132.   Thereafter, Plaintiffs have not received any further updates from Non-Party, Andrew

Swain, Esquire or Defendant, Jay Walsh concerning sale of the properties.

133.   Plaintiffs have since discovered that Defendants, ABC Management – Baltimore, LLC

failed to perform any renovations to the Baltimore Properties despite a contractual obligation to

do so and receipt of the full payment to do so.

134.   Plaintiffs have since discovered that Defendant, ABC Capital RE LTD failed to perform

any renovations of the 1917 S. Cecil Street Property despite a contractual obligation to do so and

receipt of the full payment to do so.

135.   Plaintiffs have since discovered that Defendant, Philly Metro Builders, LLC failed

perform any renovations of the 1917 S. Cecil Street Property despite a contractual obligation to

do so and receipt of the full payment to do so.

136.   The RICO Enterprise failed to perform any renovations to any of the six properties under

its management despite full receipt of the approximately $225,000 for the full rehab of the

properties.



                                                  29
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 30 of 48




137.   One or more members of the RICO Enterprise, believed to include, but not be limited to,

Defendants, Jay Walsh, Amir Vana, and Yaron Zer, knew and intended for the six properties to

not be renovated and instead knowingly directed the RICO Enterprise to use the rehabilitation

sums to pay prior investors the guaranteed rental income payments.

                                         WATER BILLS

138.   Plaintiffs discovered that several properties possessed significant outstanding water bills

that existed at the time of Plaintiffs’ purchase of the properties, which were never disclosed to

Plaintiffs nor were extinguished. Specifically,

           a. The 2528 Francis Street Property possessed an outstanding sum of approximately

               $25,200;

           b. The 1739 E. 30th Street Property possessed an outstanding sum of approximately

               $14,200;

           c. The 1415 Popular Grove Street Property possessed an outstanding sum of

               approximately $2,750; and,

           d. The 2017 Sinclair Lane Property possessed an outstanding sum of appropriately

               $2,400.

139.   Plaintiff, Dr. Michan was shocked to learn that over $40,000 in water bills were

outstanding on the four properties in Baltimore, particularly as (i) Defendant, Florencia

Melendez had represented to Plaintiff that the “purchase price” included, inter alia, payment of

all outstanding water bills; and (ii) Defendant, Ricardo Scattolini had represented to Plaintiff that

any outstanding encumbrances, liens, or bills associated with the properties would be

extinguished at settlement.




                                                  30
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 31 of 48




140.   Notably, the HUD Statement for the 1415 Popular Grove Street Property reflects that a

payment for “Water Due” in the amount of $957.22 was included in the “Settlement Charges”

paid by Plaintiffs. See Exhibit H, Page 2.

141.   Notably, the HUD Statement for the 2017 Sinclair Lane Property reflects that a payment

for “Water Due” in the amount of $122.58 was included in the “Settlement Charges” paid by

Plaintiffs. See Exhibit K, Page 2.

142.   Upon information and belief, Defendant, Florencia Melendez and/or Defendant, Ricardo

Scattolini had actual knowledge of the outstanding water bills and fraudulently, recklessly,

and/or deceptively failed to disclose the existence and amount of the outstanding water bills on

the Baltimore properties to Plaintiffs.

143.   Upon information and belief, the RICO Enterprise intentionally concealed the existence

and amount of the outstanding water bills on the Baltimore properties from Plaintiffs and never

intended to pay the outstanding water bills in full.

144.   Additionally, it is believed and therefore averred that the RICO Enterprise misrepresented

and deliberately failed to pay expenses associated with the purchase and management of the

Property. Instead, it is believed that the RICO Enterprise used the funds to continue its ponzi-

scheme payments.

                       OWNERSHIP OF BALTIMORE PROPERTIES

145.   Plaintiffs have recently discovered that Plaintiff, Lifelight Group LLC is not the owner of

the Baltimore Properties, but instead only owns a “leasehold interest” therein. See Exhibits X, Y,

Z, and AA.




                                                 31
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 32 of 48




146.   Upon information and belief, leasehold estates are common in the Baltimore, MD area; in

which an estate maintains ownership of the land and creates a ninety-nine (99) year lease,

renewable in perpetuity, but subject to semi-annual payments of ground rent.

147.   The RICO Enterprise fraudulently, deceptively, and/or corruptly failed to disclose to

Plaintiffs that Plaintiff, Lifelight Group LLC was not the owner of the land on which the

Baltimore Properties are situated.

148.   Upon information and belief, Plaintiff, Lifelight Group LLC now must pay additional

sums to convert the leasehold interest to a fee simple interest in order to purchase the applicable

land from the applicable estates.

149.   Despite entering into and settling upon a Real Estate Contract of Sale for the purchase of

the 1415 Poplar Grove Street Property (see Exhibits F & H), the RICO Enterprise, by and

through Non-Party, Lawrence S. London, Esq. t/a Clear Title Group, fraudulently and corruptly

recorded an “Assignment” of the 1415 Poplar Grove Street Property from Non-Party Grantor, JV

1415 Poplar Grove LLC to Plaintiff, Lifelight Group LLC as grantee. See Exhibit X.

150.   Further, the assignment also notes that Plaintiff, Lifelight Group LLC owes an “Annual

Ground Rent” in the amount of $96 to Non-Party Grantor, JV 1415 Poplar Grove LLC. See

Exhibit X.

151.   Despite entering into and settling upon a Real Estate Contract of Sale for the purchase of

the 2017 Sinclair Lane Property (see Exhibits I & K), the RICO Enterprise, by and through Non-

Party, Lawrence S. London, Esq. t/a Clear Title Group, fraudulently and corruptly recorded an

“Assignment” of the 2017 Sinclair Lane Property from Non-Party Grantor, Novato Ventures,

LLC to Plaintiff, Lifelight Group LLC as grantee. See Exhibit Y.




                                                 32
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 33 of 48




152.   Further, the assignment also notes that Plaintiff, Lifelight Group LLC owes an “Annual

Ground Rent” in the amount of $60 to Non-Party Grantor, Novato Ventures, LLC. See Exhibit

Y.

153.   Despite entering into and settling upon a Real Estate Contract of Sale for the purchase of

the 2528 Francis Street Property (see Exhibits L & N), the RICO Enterprise, by and through

Non-Party, Masters Title & Escrow, fraudulently and corruptly recorded an “Assignment” of the

2528 Francis Street Property from Defendant-Grantor, ABC Capital – Baltimore, LLC to

Plaintiff, Lifelight Group LLC as grantee. See Exhibit Z.

154.   Further, the assignment also notes that Plaintiff, Lifelight Group LLC owes an “Annual

Ground Rent” in the amount of $72 to Defendant-Grantor, ABC Capital – Baltimore, LLC. See

Exhibit Z.

155.   Despite entering into and settling upon a Real Estate Contract of Sale for the purchase of

the 1739 E. 30th Street Property (see Exhibits O & Q), the RICO Enterprise, by and through

Non-Party, Masters Title & Escrow, fraudulently and corruptly recorded an “Assignment” of the

1739 E. 30th Street Property from Defendant-Grantor, ABC Capital – Baltimore, LLC to

Plaintiff, Lifelight Group LLC as grantee. See Exhibit AA.

156.   Notably, the Assignment notes that the Defendant-Grantor, ABC Capital – Baltimore,

LLC only possessed a “leasehold interest” in the 1739 E. 30th Street Property as assigned to it

from Non-Party, Evan J. Feldman, Personal Representative of the Estate of Lum E. Brown Jr.

See Exhibit AA.

157.   Further, the assignment also notes that Plaintiff, Lifelight Group LLC owes an “Annual

Ground Rent” in the amount of $90 to Defendant-Grantor, ABC Capital – Baltimore, LLC. See

Exhibit AA.



                                                33
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 34 of 48




                    OWNERSHIP OF THE 1917 S. CECIL PROPERTY

158.   Plaintiffs have recently discovered that Plaintiff, Lifelight Group LLC is not the recorded

owner of the 1917 S. Cecil Street Property; but that the owner remains Defendant, NHS

Investments LLC.

159.   It is believed and therefore averred that Defendant, NHS Investments LLC was

compensated for the 1917 S. Cecil Street Property via the settlement that occurred on that

property on or about November 30, 2018. See Exhibits R & T.

160.   It is believed and therefore averred that Defendant, ABC Capital RE LTD negligently

failed to effectuate the recording of the deed for the 1917 S. Cecil Street Property in the name of

Plaintiff, Lifelight Group LLC.

161.   In the alternative, it is believed and therefore averred that the RICO Enterprise did not

have the authority to sell the 1917 S. Cecil Street Property on behalf of Defendant, NHS

Investments LLC and committed fraud on Plaintiffs for holding itself out as having such

authority.

V.     CAUSES OF ACTION

                                           COUNT I
       Violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”)
  Plaintiffs v. Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital
 Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore, LLC, Philly Metro
 Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC, ABC Capital Income
   Fund, LLC, ABC Capital Realty, Jay Walsh, Amir Vana, Yaron Zer, Florencia Melendez,
                             Ricardo Scattolini, and John Does 1-10.

162.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

163.   Plaintiffs, Dr. Jose Michan-Levy and Lifelight Group LLC are “persons” as that term is

defined for purpose of the RICO Act. See 18 U.S.C. §1961(3).




                                                 34
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 35 of 48




164.   Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital RE,

ABC Capital Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore, LLC,

Philly Metro Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC, ABC

Capital Income Fund, LLC, ABC Capital Realty, 477 Management, LLC, 477 International

Realty, LLC, IPP USA, LLC, and, Stateside APM, as well as Individual-Defendants, Jay Walsh,

Amir Vana, Yaron Zer, Florencia Melendez, Ricardo Scattolini, and John Does 1-10 are

“persons” as that term is defined for purpose of the RICO Act. See 18 U.S.C. §1961(3).

165.   Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital RE,

ABC Capital Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore, LLC,

Philly Metro Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC, ABC

Capital Income Fund, LLC, ABC Capital Realty, 477 Management, LLC, 477 International

Realty, LLC, IPP USA, LLC, and, Stateside APM, as well as Individual-Defendants, Jay Walsh,

Amir Vana, Yaron Zer, Florencia Melendez, Ricardo Scattolini, and John Does 1-10 constitute

an “enterprise” as that term is defined for purpose of the RICO Act. See 18 U.S.C. §1961(4).

166.   Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital RE,

ABC Capital Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore, LLC,

Philly Metro Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC, ABC

Capital Income Fund, LLC, ABC Capital Realty, 477 Management, LLC, 477 International

Realty, LLC, IPP USA, LLC, and, Stateside APM, as well as Individual-Defendants, Jay Walsh,

Amir Vana, Yaron Zer, Florencia Melendez, Ricardo Scattolini, and John Does 1-10 acted

together to form an association-in-fact for the common and continuing purpose to defraud

persons”, including but not limited to Plaintiffs, through a ponzi-like scheme surrounding

“income producing properties” as described in detail herein.



                                               35
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 36 of 48




167.   Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital RE,

ABC Capital Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore, LLC,

Philly Metro Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC, ABC

Capital Income Fund, LLC, ABC Capital Realty, 477 Management, LLC, 477 International

Realty, LLC, IPP USA, LLC, and, Stateside APM, as well as Individual-Defendants, Jay Walsh,

Amir Vana, Yaron Zer, Florencia Melendez, Ricardo Scattolini, and John Does 1-10 formed an

enterprise and association-in-fact with an ascertainable authority structure that was separate and

distinct from any formal corporate structure, i.e. the RICO Enterprise.

168.   The RICO Enterprise, knowingly, fraudulently, deceptively, and unlawfully engaged in

the affairs of the RICO Enterprise through a “pattern of racketeering activities”, that is believed

to be ongoing, as that term is defined for purpose of the RICO Act. See 18 U.S.C. §1961(1).

169.   The RICO Enterprise engaged in a pattern of indictable conduct, including conduct

indictable under 18 U.S.C. 1341 (relating to mail fraud), 18 U.S.C. 1343 (relating to wire fraud),

and 18 U.S.C. 1952 (relating to racketeering) in that the RICO Enterprise made use of the

facilities of interstate commerce in furtherance of its ponzi-like scheme to defraud individuals,

including, but not limited to, Plaintiffs herein as well as the thirty-three plaintiffs in Alaphabet

Philly, LLV, et al. v. ABC Capital Investments, LLC, et al (EDPA No. 19-6116). See Exhibit W.

170.   The RICO Enterprise engages in and affects interstate commerce, including, but not

limited to, in the State of Florida, the State of Maryland, and the Commonwealth of

Pennsylvania, as well as overseas. Upon information and belief, the RICO Enterprise also is

engages in and affects interstate commerce in the State of Michigan and the State of Missouri.

171.   As a result of the RICO Enterprise’s pattern of racketeering activities, the RICO

Enterprise defrauded Plaintiffs to their financial detriment.



                                                  36
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 37 of 48




172.    Pursuant to 18 U.S.C. § 1964, Plaintiffs are entitled to treble damages, reasonable

attorneys’ fees, and costs of suit for the violations committed.

                                           COUNT II
                                             Fraud
  Plaintiffs v. Defendants, ABC Capital Miami, LLC, 477 Management, LLC 477 International
                      Realty, LLC, Florencia Melendez & Ricardo Scattolini

173.    Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

174.    Defendants, ABC Capital Miami, LLC, 477 Management, LLC, and 477 International

Realty, LLC, by and through, Defendants, Florencia Melendez and Ricardo Scattolini

represented to Plaintiffs that they would sell six specific properties to Plaintiffs.

175.    Defendants, ABC Capital Miami, LLC, 477 Management, LLC, and 477 International

Realty, LLC, by and through, Defendants, Florencia Melendez and Ricardo Scattolini

represented to Plaintiffs that they had the authority to sell six specific properties to Plaintiffs.

176.    Defendants, ABC Capital Miami, LLC, 477 Management, LLC, and 477 International

Realty, LLC, by and through, Defendants, Florencia Melendez and Ricardo Scattolini

represented to Plaintiffs that in exchange for payment, Defendants, ABC Capital Miami, LLC,

477 Management, LLC, and 477 International Realty, LLC would:

            a. create an new entity to hold the investment properties;

            b. select and coordinate the purchase of the six properties for the newly created

                entity;

            c. coordinate a full renovation of the properties within sixty days of settlement on

                each property; and,

            d. manage all aspects of the Property, including rental, maintenance, taxes, and

                compliance with all applicable laws, regulations, and ordinances.




                                                   37
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 38 of 48




177.   Defendants, Ricardo Scattolini and Florencia Melendez explained that ABC Capital

Miami, LLC guaranteed a return on investment in excess of nine percent per year.

178.   Defendants, ABC Capital Miami, LLC, 477 Management, LLC, 477 International Realty,

LLC, Florencia Melendez, and Ricardo Scattolini knew that the foregoing representations were

false and misleading, yet made the representations with the intent for Plaintiffs to rely thereupon.

179.   Plaintiffs justifiably depended upon the representations of Defendants, ABC Capital

Miami, LLC, 477 Management, LLC, and 477 International Realty, LLC, made by and through,

Defendants, Florencia Melendez and Ricardo Scattolini to Plaintiffs’ financial detriment.

                                            COUNT III
                                       Breach of Contracts
                   Plaintiffs v. Defendant, ABC Management – Baltimore, LLC

180.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

181.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into four

contracts for the purchase of the Baltimore Properties from Defendant, ABC Capital Baltimore,

LLC. See Exhibits F, I, L, & O.

182.   Plaintiffs paid Defendant, ABC Capital Baltimore, LLC the full purchase amount for the

Baltimore Properties. See Exhibits H, K, N, & Q.

183.   Defendant, ABC Capital Baltimore, LLC breached the foregoing contracts for the

purchase of the Baltimore Properties by failing to record the deed transfers, as agreed, but

instead recording “Assignments” of the Baltimore Properties, providing Plaintiff, Lifelight

Group LLC only a “leasehold interest” in the Baltimore properties.

184.   Plaintiffs have been financially harmed by Defendant, ABC Capital Baltimore, LLC’s

breach of the foregoing contracts.

                                           COUNT IV
                                       Breach of Contracts


                                                 38
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 39 of 48




                     Plaintiffs v. Defendant, ABC Management – Baltimore, LLC

185.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

186.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, ABC Management – Baltimore, LLC for the full renovation of the 1415 Poplar

Grove Street Property for a cost of $57,000. See Exhibit F, Page 5.

187.   Plaintiff, Lifelight Group LLC paid Defendant, ABC Management – Baltimore, LLC the

full $57,000 for the renovation on or about November 30, 2018 through settlement / closing. See

Exhibit H, Page 2.

188.   Defendant, ABC Management – Baltimore, LLC breached the foregoing contract by

failing to make any renovations to the 1415 Poplar Grove Street Property.

189.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, ABC Management – Baltimore, LLC for the full renovation of the 2017 Sinclair

Lane Property for a cost of $33,500. See Exhibit I, Page 6.

190.   Plaintiff, Lifelight Group LLC paid Defendant, ABC Management – Baltimore, LLC the

full $33,500 for the renovation on or about November 30, 2018 through settlement / closing. See

Exhibit K, Page 2.

191.   Defendant, ABC Management – Baltimore, LLC breached the foregoing contract by

failing to make any renovations to the 2017 Sinclair Lane Property.

192.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, ABC Management – Baltimore, LLC for the full renovation of the 2528 Francis

Street Property for a cost of $42,500. See Exhibit L, Page 6.




                                                 39
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 40 of 48




193.   Plaintiff, Lifelight Group LLC paid Defendant, ABC Management – Baltimore, LLC the

full $42,500 for the renovation on or about November 30, 2018 through settlement / closing. See

Exhibit N, Page 2.

194.   Defendant, ABC Management – Baltimore, LLC breached the foregoing contract by

failing to make any renovations to the 2528 Francis Street Property.

195.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, ABC Management – Baltimore, LLC for the full renovation of the 1739 E. 30th

Street Property for a cost of $42,500. See Exhibit O, Page 6.

196.   Plaintiff, Lifelight Group LLC paid Defendant, ABC Management – Baltimore, LLC the

full $42,500 for the renovation on or about November 30, 2018 through settlement / closing. See

Exhibit Q.

197.   Defendant, ABC Management – Baltimore, LLC breached the foregoing contract by

failing to make any renovations to the 1739 E. 30th Street Property.

198.   As a result of Defendant, ABC Management – Baltimore, LLC breach of the foregoing

contracts, Plaintiffs have been financially harmed, in excess of the $175,500, as well as lost

rental income and other direct, compensatory, and consequential damages.

                                          COUNT V
                                       Unjust Enrichment
                              (Pled in the Alternative to Counts IV)
                     Plaintiffs v. Defendant, ABC Management – Baltimore, LLC

199.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

200.   On or about November 30, 2018, Plaintiffs, by and through the RICO Enterprise, paid

Defendant, ABC Management – Baltimore, LLC the total sum of $175,500 with the

understanding that Defendant, ABC Management – Baltimore, LLC would fully renovate: (i) the




                                                 40
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 41 of 48




1415 Poplar Grove Street Property; (ii) the 2017 Sinclair Lane Property; (iii) the 2528 Francis

Street Property; and, (iv) the 1739 E. 30th Street Property.

201.   Defendant, ABC Management – Baltimore, LLC accepted and retained the $175,500

received from Plaintiffs, understanding that Plaintiffs expected that Defendant, ABC

Management – Baltimore, LLC would fully renovate: (i) the 1415 Poplar Grove Street Property;

(ii) the 2017 Sinclair Lane Property; (iii) the 2528 Francis Street Property; or, (iv) the 1739 E.

30th Street Property.

202.   Should it be judicially-determined that Plaintiffs did not enter into binding contracts with

Defendant, ABC Management – Baltimore, LLC to fully renovate: (i) the 1415 Poplar Grove

Street Property; (ii) the 2017 Sinclair Lane Property; (iii) the 2528 Francis Street Property; or,

(iv) the 1739 E. 30th Street Property; it would be unjust for Defendant, ABC Management –

Baltimore, LLC to retain the $175,500 received from Plaintiffs under the circumstances.

                                             COUNT VI
                                         Breach of Contract
                           Plaintiffs v. Defendant, ABC Capital RE LTD

203.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

204.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, ABC Capital RE LTD for the full renovation of the 1917 S. Cecil Street

Property for a cost of $16,686.18. Plaintiffs do not possess a copy of the written contract as the

RICO Enterprise failed to provide Plaintiffs a copy thereof.

205.   Plaintiff, Lifelight Group LLC paid Defendant, ABC Management – Baltimore, LLC

$16,686.18 for the full renovation on or about November 30, 2018 through settlement / closing.

See Exhibit T, Page 2.




                                                 41
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 42 of 48




206.   Defendant, ABC Management – Baltimore, LLC breached the foregoing contract by

failing to make any renovations to the 1917 S. Cecil Street Property.

207.   As a result of Defendant, ABC Management – Baltimore, LLC breach of the foregoing

contract, Plaintiffs have been financially harmed, in excess of the $16,686.18, as well as lost

rental income and other direct, compensatory, and consequential damages.

                                          COUNT VII
                                       Unjust Enrichment
                             (Pled in the Alternative to Count VI)
                          Plaintiffs v. Defendant, ABC Capital RE LTD

208.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

209.   On or about November 30, 2018, Plaintiffs, by and through the RICO Enterprise, paid

Defendant, ABC Capital RE LTD the total sum of $16,686.18 with the understanding that

Defendant, ABC Capital RE LTD would fully renovate the 1917 S. Cecil Street Property.

210.   Defendant, ABC Capital RE LTD accepted and retained the $16,686.18 received from

Plaintiffs, understanding that Plaintiffs expected that Defendant, ABC Capital RE LTD would

fully renovate the 1917 S. Cecil Street Property

211.   Should it be judicially-determined that Plaintiffs did not enter into a binding contract with

Defendant, ABC Capital RE LTD to fully renovate the 1917 S. Cecil Street Property, it would be

unjust for Defendant, ABC Capital RE LTD to retain the $16,686.18 received from Plaintiffs.

                                          COUNT VIII
                                       Breach of Contract
                       Plaintiffs v. Defendant, Philly Metro Builders, LLC

212.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

213.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC entered into a contract

with Defendant, Philly Metro Builders, LLC for the full renovation of the 5840 Angora Terrace




                                                   42
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 43 of 48




Property for a cost of $33,090.05. Plaintiffs do not possess a copy of the written contract as the

RICO Enterprise failed to provide Plaintiffs a copy thereof.

214.   Plaintiff, Lifelight Group LLC paid Defendant, Philly Metro Builders, LLC the full

$33,090.05 for the renovation on or about December 7, 2018 through settlement / closing. See

Exhibit V, Page 2.

215.   Defendant, Philly Metro Builders, LLC breached the foregoing contract by failing to

make any renovations to the 5840 Angora Terrace Property.

216.   As a result of Defendant, Philly Metro Builders, LLC breach of the foregoing contract,

Plaintiffs have been financially harmed, in excess of the $33,090.05, as well as lost rental income

and other direct, compensatory, and consequential damages.

                                          COUNT IX
                                       Unjust Enrichment
                             (Pled in the Alternative to Count VIII)
                       Plaintiffs v. Defendant, Philly Metro Builders, LLC

217.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

218.   On or about December 7, 2018, Plaintiffs, by and through the RICO Enterprise, paid

Defendant, Philly Metro Builders, LLCthe total sum of $33,090.05 with the understanding that

Defendant, Philly Metro Builders, LLC would fully renovate the 5840 Angora Terrace Property.

219.   Defendant, Philly Metro Builders, LLC accepted and retained the $33,090.05 received

from Plaintiffs, understanding that Plaintiffs expected that Defendant, Philly Metro Builders,

LLC would fully renovate the 5840 Angora Terrace Property

220.   Should it be judicially-determined that Plaintiffs did not enter into a binding contract with

Defendant, Philly Metro Builders, LLC to fully renovate the 5840 Angora Terrace Property, it

would be unjust for Defendant, Philly Metro Builders, LLC to retain the $33,090.05 received

from Plaintiffs.


                                                 43
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 44 of 48




                                            COUNT X
                                 Breach of Contracts / Accounting
                   Plaintiffs v. Defendant, ABC Management – Baltimore, LLC

221.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

222.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into four Property Management Contracts with Defendant, ABC

Management - Baltimore, LLC, concerning: (i) the 1415 Poplar Grove Street Property; (ii) the

2017 Sinclair Lane Property; (iii) the 2528 Francis Street Property; or, (iv) the 1739 E. 30th

Street Property. See Exhibits G, J, M, & P.

223.   It is believed and therefore averred that Defendant, ABC Management - Baltimore, LLC

received compensation for the management of: (i) the 1415 Poplar Grove Street Property; (ii) the

2017 Sinclair Lane Property; (iii) the 2528 Francis Street Property; or, (iv) the 1739 E. 30th

Street Property. See Exhibits G, J, M, & P.

224.   However, despite contractually agreeing to manage the aforementioned properties,

Defendant, ABC Management - Baltimore, LLC breached the foregoing Property Management

Contracts by failing to:

           a. Take reasonable business steps to ensure the properties were leased during its

               management of the properties;

           b. Take reasonable business steps to ensure the utilities used in the properties were

               paid;

           c. Take reasonable business steps to preserve the condition of the properties;

           d. Take reasonable steps to repair the properties;

           e. Take reasonable steps to ensure the properties met minimum, applicable codes

               and ordinances; and,



                                                 44
          Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 45 of 48




              f. Other breaches of the Property Management Contracts as may be discovered

                 during the course of this lawsuit.

225.    As a result of Defendant, ABC Management - Baltimore, LLC’s breaches of the

applicable Property Management Contracts, Plaintiffs have been financially harmed.

                                              COUNT XI
                                 Breach of Contract / Accounting
                            Plaintiffs v. Defendant, ABC Capital RE LTD

226.    Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

227.    On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Property Management Agreement with Defendant, ABC Capital RE

LTD, concerning: (i) 5840 Angora Terrace Property; and, (ii) 1917 S. Cecil Street Property. See

Exhibit S.

228.    It is believed and therefore averred that Defendant, ABC Capital RE LTD received

compensation for the management of: (i) 5840 Angora Terrace Property; and, (ii) 1917 S. Cecil

Street Property. See Exhibit S.

229.    However, despite contractually agreeing to manage the aforementioned properties,

Defendant, ABC Capital RE LTD breached the foregoing Property Management Agreement by

failing to:

              a. Take reasonable business steps to ensure the properties were leased during its

                 management of the properties;

              b. Take reasonable business steps to ensure the utilities used in the properties were

                 paid;

              c. Take reasonable business steps to preserve the condition of the properties;

              d. Take reasonable steps to repair the properties;



                                                  45
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 46 of 48




           e. Take reasonable steps to ensure the properties met minimum, applicable codes

               and ordinances; and,

           f. Other breaches of the Property Management Agreement as may be discovered

               during the course of this lawsuit.

230.   As a result of Defendant, ABC Capital RE LTD’s breaches of the Property Management

Agreement, Plaintiffs have been financially harmed.

                                          COUNT XII
                                           Quiet Title
  Plaintiff, Lifelight Group LLC v. Defendants, NHS Investments LLC, ABC Capital RE LTD &
                                           John Does

231.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

232.   On or about November 13, 2018, Plaintiff, Lifelight Group LLC – through the RICO

Enterprise – entered into a Standard Agreement for the Sale of Real Estate for the purchase of

the 1917 S. Cecil Street Property from Defendant, ABC Capital RE LTD for eighty-nine

thousand dollars ($89,000). See Exhibit R.

233.   However, per the HUD Settlement Statement, the seller was in fact Defendant, NHS

Investments LLC, not Defendant, ABC Capital RE LTD. See Exhibit T.

234.   The HUD Settlement Statement reflects that Defendant, NHS Investments LLC was

compensated for Plaintiffs purchase of the 1917 S. Cecil Street Property. See Exhibit T.

235.   However, Plaintiffs have recently discovered that Plaintiff, Lifelight Group LLC is not

the recorded owner of the 1917 S. Cecil Street Property; but that the owner remains Defendant,

NHS Investments LLC.

236.   It is believed and therefore averred that Defendant, ABC Capital RE LTD negligently

failed to effectuate the recording of the deed for the 1917 S. Cecil Street Property in the name of

Plaintiff, Lifelight Group LLC.

                                                 46
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 47 of 48




237.   Under the circumstances, Plaintiff, Lifelight Group LLC is entitled to a judicial order

quieting the title to the 1917 S. Cecil Street Property in its name.

                                            COUNT XII
                                              Fraud
                              (Pled in the Alternative to Count XI)
 Plaintiffs v. Defendants, ABC Capital Miami, LLC, 477 Management, LLC, 477 International
                    Realty, LLC Ricardo Scattolini, and Florencia Melendez

238.   Plaintiffs incorporate the foregoing paragraphs as if set forth at length herein.

239.   Defendants, ABC Capital Miami, LLC, 477 Management, LLC, and 477 International

Realty, LLC, by and through Defendants, Ricardo Scattolini, and Florencia Melendez,

represented to Plaintiffs, through their words and actions, that they possessed authority to

effectuate the sale of the 1917 S. Cecil Street Property to Plaintiff, Lifelight Group LLC.

240.   Plaintiffs justifiably relied upon the foregoing representation.

241.   Plaintiffs transferred the sum of eighty-nine thousand dollars ($89,000), as directed by

Defendants, Ricardo Scattolini and Florencia Melendez, for the purchase of the 1917 S. Cecil

Street Property.

242.   To the extent discovery reveals that Defendants, ABC Capital Miami, LLC, 477

Management, LLC, and 477 International Realty, LLC, Ricardo Scattolini, and Florencia

Melendez did not possess authority to effectuate the sale of the 1917 S. Cecil Street Property to

Plaintiff, Lifelight Group LLC as they represented to Plaintiffs, then their representation was

made knowingly and with the intent to defraud Plaintiffs.

VI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, Dr. Jose Michan-Levy and Lifelight Group LLC, by and

through their Undersigned Counsel, request this Honorable Court enter judgment in their favor

and against Defendants, ABC Capital Investments, LLC, ABC Capital RE LTD, ABC Capital



                                                  47
         Case 2:21-cv-01917-CDJ Document 1 Filed 04/26/21 Page 48 of 48




RE, ABC Capital Miami, LLC, ABC Capital Baltimore, LLC, ABC Management - Baltimore,

LLC, Philly Metro Builders, LLC, ABC Capital Finance, LLC, ABC Capital Holdings, LLC,

ABC Capital Income Fund, LLC, ABC Capital Realty, 477 Management, LLC, 477 International

Realty, LLC, IPP USA, LLC, and, Stateside APM, as well as Individual-Defendants, Jay Walsh,

Amir Vana, Yaron Zer, Florencia Melendez, Ricardo Scattolini, and John Does 1-10,

individually and/or jointly and severally, in an amount well in excess of $500,000, including all

direct, compensatory, and consequential damages, plus statutory and punitive damages, attorney

fees and costs, and such other and further relief as this Honorable Court deems necessary and

just including:

       (i)        the quieting of the title to the 1917 S. Cecil Street Property in the name of

                  Plaintiff, Lifelight Group LLC; and,

       (ii)       requiring Defendants, ABC Management – Baltimore, LLC and Capital RE LTD

                  to provide a full and complete accounting and audit, at their sole cost, with bank

                  statements and proof of payment, to the Plaintiffs for the management of the

                  properties previously under their management.

                                                         Respectfully Submitted,

WEISBERG LAW                                             SCHAFKOPF LAW, LLC

/s/ Matthew B. Weisberg                                  /s/ Gary Schafkopf
Matthew B. Weisberg                                      Gary Schafkopf
L. Anthony DiJiacomo, III                                Attorneys for Plaintiffs




                                                    48
